Case 2:20-cv-01068-FLA-PVC                   Document 10             Filed 02/28/20       Page 1 of 1 Page ID
                                                   #:36
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 SHANNON SENSIBAUGH                                                  2:20−cv−01068−MWF−PVC
                                                  Plaintiff(s),

          v.
 EF EDUCATION FIRST, INC.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).        ELECTRONICALLY FILED DOCUMENTS




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                                                       Clerk, U.S. District Court

 Dated: February 28, 2020                              By: /s/ Ingrid Valdes ingrid_valdes@cacd.uscourts.gov
                                                          Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

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